                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 ANDREW CORZO, SIA HENRY, ALEXANDER
 LEO-GUERRA, MICHAEL MAERLENDER,
 BRANDON PIYEVSKY, BENJAMIN SHUMATE,
 BRITTANY TATIANA WEAVER, and
 CAMERON WILLIAMS, individually and on
 behalf of all others similarly situated,

                               Plaintiffs,

                          v.

 BROWN UNIVERSITY, CALIFORNIA                            Case No.: 1:22-cv-00125
 INSTITUTE OF TECHNOLOGY, UNIVERSITY
                                                         Hon. Matthew F. Kennelly
 OF CHICAGO, THE TRUSTEES OF COLUMBIA
 UNIVERSITY IN THE CITY OF NEW YORK,
 CORNELL UNIVERSITY, TRUSTEES OF
 DARTMOUTH COLLEGE, DUKE UNIVERSITY,
 EMORY UNIVERSITY, GEORGETOWN
 UNIVERSITY, THE JOHNS HOPKINS
 UNIVERSITY, MASSACHUSETTS INSTITUTE
 OF TECHNOLOGY, NORTHWESTERN
 UNIVERSITY, UNIVERSITY OF NOTRE DAME
 DU LAC, THE TRUSTEES OF THE
 UNIVERSITY OF PENNSYLVANIA, WILLIAM
 MARSH RICE UNIVERSITY, VANDERBILT
 UNIVERSITY, and YALE UNIVERSITY,

                               Defendants.


 UNOPPOSED MOTION BY PLAINTIFFS FOR AN ENLARGEMENT OF THE PAGE
     LIMIT FOR PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
      PRELIMINARY APPROVAL OF PLAINTIFFS’ SETTLEMENT WITH
                DEFENDANT UNIVERSITY OF CHICAGO

       Pursuant to Northern District of Illinois Local Rule 7.1, Plaintiffs respectfully seek leave

to file a Memorandum of Law (“Memorandum”) that exceeds 15 pages in length (totaling 34

pages) in support of a Motion for Provisional Certification of Settlement Class, Preliminary


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Approval of Proposed Partial Settlement, Approval of the Form and Manner of Notice to the

Class, and Proposed Schedule for a Fairness Hearing.

       1.      This is a proposed class action alleging that seventeen elite universities violated

the antitrust laws by agreeing on a common formula and common principles regarding financial

aid, and by exchanging competitively sensitive information concerning financial aid principles,

formulas, and pricing.

       2.      On April 19, 2023, Plaintiffs notified the Court by letter that Plaintiffs and

Defendant University of Chicago reached an agreement in principle that, if ultimately approved

by the Court, would resolve the case on behalf of the proposed class as against Defendant

University of Chicago. ECF No. 351.

       3.      Plaintiffs respectfully seek leave of the Court to file a Memorandum in excess of

15 pages to address the standards for provisional certification of a settlement class, preliminary

approval of a proposed partial settlement, and approval of the form and manner of class notice.

       4.      Plaintiffs’ counsel conferred with Defendants’ counsel, who do not oppose this

request.

       WHEREFORE, for the reasons stated above, Plaintiffs respectfully request that the Court

grant this Motion and permit Plaintiffs to file a Memorandum that is 34 pages in length.




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Dated: August 14, 2023                             Respectfully submitted,


By:/s/Robert D. Gilbert                            /s/ Edward J. Normand
Robert D. Gilbert                                  Devin “Vel” Freedman
Elpidio Villarreal                                 Edward J. Normand
Robert S. Raymar                                   Peter Bach-y-Rita
                                                   Richard Cipolla
Steven Magnusson                                   FREEDMAN NORMAND
GILBERT LITIGATORS &                               FRIEDLAND LLP
COUNSELORS, P.C.                                   99 Park Avenue
11 Broadway, Suite 615                             Suite 1910
New York, NY 10004                                 New York, NY 10016
Phone: (646) 448-5269                              Tel: 646-970-7513
rgilbert@gilbertlitigators.com                     vel@fnf.law
pdvillarreal@gilbertlitigators.com                 tnormand@fnf.law
rraymar@gilbertlitigators.com                      pbachyrita@fnf.law
smagnusson@gilbertlitigators.com                   rcipolla@fnf.law

Eric L. Cramer                                     Daniel J. Walker
Caitlin G. Coslett                                 Robert E. Litan
BERGER MONTAGUE PC                                 Hope Brinn
1818 Market Street, Suite 3600                     BERGER MONTAGUE PC
Philadelphia, PA 19103                             2001 Pennsylvania Avenue, NW
Tel: 215-875-3000                                  Suite 300
ecramer@bm.net                                     Washington, DC 20006
ccoslett@bm.net                                    Tel: 202-559-9745
                                                   rlitan@bm.net
Richard Schwartz                                   dwalker@bm.net
BERGER MONTAGUE PC                                 hbrinn@bm.net
1720 W Division
Chicago, IL 60622
Tel: 773-257-0255
rschwartz@bm.net

                          Counsel for Plaintiffs and the Proposed Class




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